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 SOUTHERN DISTRICT OF NEW YORK                          ·-· -------------_.,.."I
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  United States of America                                                          Order of Restitution

                v.                                                                     ~(LTS)
                                                                                       -(KPF)
 Jermaine Anderson,
 Brandon Alvarez, and

                              Defendants.


        Upon the application of the United States of America, by its attorney, Audrey Strauss,

Acting United States Attorney for the Southern District of New York, Nicholas W. Chiuchiolo,

Assistant United States Attorney, of counsel; the presentence reports; the above-captioned

defendants' convictions in these cases; the above-captioned defendants' plea agreements; and all

other proceedings in these cases, it is hereby ORDERED that:

        1. Amount of Restitution. Defendants Jermaine Anderson, Brandon Alvarez, an~

- s h a l l pay restitution in the total amount of $291,299.00 to the victim of the offenses of

which they have been convicted in this case, in the apportioned amounts set forth below. The

names, addresses, and specific amounts owed to the victim are set forth in the Schedule of Victims

attached hereto. Upon advice of a change of address, the Clerk of the Court is authorized to send

payments to the new address without further order of this Court.

        2. Joint and Several Liability. Defendants Jermaine Anderson, Brandon Alvarez, and

                     liability for restitution shall be joint and several with each other and that of any

other defendant ordered to make restitution for the offenses in this matters under 19 Cr. 23 (L TS)

and - K P F ) . Each defendant's liability for restitution shall continue unabated until either




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the defendant has paid the apportioned amount set forth below, or every victim has been paid the

total amount of loss from all the restitution paid by the defendants in this matter.

          Defendant                                    Apportioned Amount of Restitution
                                                        "oint and several
          Jermaine Anderson                            $291,299 .00
          Brandon Alvarez                              $228,787.00
                                                       $46,360.00
          TOTAL RESTITUTION AMOUNT:                    $291,299.00

       3. Sealing. Consistent with 18 U.S.C. §§ 377l(a)(8) & 3664(d)(4) and Federal Rule of

Criminal Procedure 49.1, to protect the privacy interests of victims, the Schedule of Victims

attached hereto shall be filed under seal, except that copies may be retained and used or disclosed

by the Government, the Clerk's Office, and the Probation Office, as need be to effect and enforce

this Order, without further order of this Court.

Dated: New York, New York




                                            ~AYLOR                 SWAIN
                                               UNfTED STATES Of STRICT JUDGE




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